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                                   6                                UNITED STATES DISTRICT COURT

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                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                  10   GOOGLE LLC,
                                  11                  Plaintiff,                            No. C 20-06754 WHA

                                  12           v.
Northern District of California
 United States District Court




                                  13   SONOS, INC.,                                         ORDER RE CROSS MOTIONS FOR
                                                                                            PARTIAL SUMMARY JUDGMENT
                                  14                  Defendant.                            AS TO CLAIM 1 OF ’885 PATENT
                                  15

                                  16
                                                                             INTRODUCTION
                                  17
                                            In this patent infringement action, the patent owner moves for summary judgment of
                                  18
                                       infringement of claim 1 of United States Patent No. 10,848,885. The alleged infringer cross
                                  19
                                       moves for summary judgment of noninfringement and invalidity. For the reasons that follow,
                                  20
                                       the patent owner’s motion is GRANTED.
                                  21
                                                                               STATEMENT
                                  22
                                            Patent owner Sonos, Inc. asserts that Google LLC infringes its patents, including United
                                  23
                                       States Patent Nos. 10,848,885 and 9,967,615. Pursuant to our “patent showdown” procedure
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                                       (Dkt. Nos. 68, 206), Sonos moves for summary judgment of infringement of claim 1 of the ’885
                                  25
                                       patent. Google, meanwhile, cross moves for summary judgment of noninfringement as to that
                                  26
                                       claim and separately moves for summary judgment of noninfringement of claim 13 of the ’615
                                  27
                                       patent. Google also raises a variety of invalidity theories as to both claims. This order
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                                   1   considers the motions related to the ’885 patent. A separate order will follow as to Google’s

                                   2   motion on the ’615 patent.

                                   3        The technology at issue in this case broadly relates to wireless multi-room audio systems.

                                   4   These wireless audio systems include “networked audio players” now commonly referred to as

                                   5   “smart” speakers. Smart speakers can communicate with each other and with other “networked

                                   6   devices” over the internet. This ability to communicate with other networked devices allows

                                   7   smart speakers to be controlled using a smart phone or other computer, which makes it easier to

                                   8   play music or other audio.

                                   9        The accused products provide a helpful example. Imagine someone has a smart phone, a

                                  10   networked device connected to the internet. On the smart phone is the Google Play Music app,

                                  11   which offers a library of songs. Smart phone speakers generally produce lesser-quality sound,

                                  12   so listeners may prefer to listen to songs on an external, higher-quality speaker. Prior to the
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                                  13   arrival of smart speakers, the external, better speaker would have to be connected to the phone

                                  14   through wires. Smart speakers, however, can connect to the smart phone over the internet,

                                  15   without wires. Using the Google Play Music app, the user can tap a button to connect the phone

                                  16   to the smart speaker. After the devices are connected, the audio that would have otherwise

                                  17   played through the phone’s speaker will play through the smart speaker instead. Google calls

                                  18   such connecting “casting,” and the parties herein refer to this feature as “cast” technology.

                                  19        Now, imagine our user has smart speakers in several rooms, e.g., one in each of the living

                                  20   room, kitchen, and bedroom. Sometimes the user may want to play music in only the living

                                  21   room. At other times, the user may want to play music in only the living room and kitchen.

                                  22   And at yet other times, the user may want to play music in all three rooms. The ’885 patent

                                  23   broadly relates to managing and organizing these groups of smart speakers and other

                                  24   “multimedia players.”

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                                   1        In particular, the patent is directed toward a “method and apparatus for controlling or

                                   2   manipulating a plurality of multimedia players in a multi-zone system” (’885 patent at 1:32–

                                   3   34). A player is a speaker or television or other similar device that can play content. The patent

                                   4   refers to the player’s location, such as a bedroom or kitchen, as a “zone” and the player therein

                                   5   as a “zone player” (see, e.g., id. at 2:36–41; 3:13–23). Figure 1 of the patent illustrates what

                                   6   this system looks like:

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                                            Sonos filed the application that led to the ’885 patent in April 2019, but the patent
                                  18
                                       application claims priority through a long chain of continuation applications dating back to a
                                  19
                                       provisional application filed in September 2006. The patent’s specification recounts that, prior
                                  20
                                       to 2006, it was difficult for users to dynamically control speaker groups. In a “traditional multi-
                                  21
                                       zone audio system,” the specification explains, audio sources are “hard-wired” or “controlled by
                                  22
                                       a pre-configured and pre-programmed controller,” which makes it cumbersome to “dynamically
                                  23
                                       manag[e] the ad hoc creation and deletion of groups,” particularly when desired groups overlap
                                  24
                                       (id. at 1:62–2:2:25). As an illustrative example, the specification laments that someone who
                                  25
                                       enjoys “listen[ing] to broadcast news from his/her favorite radio station in a bedroom, a
                                  26
                                       bathroom, and a den while preparing to go to work in the morning” but also prefers to “listen in
                                  27
                                       the den and the living room to music . . . in the evening” would not easily be able to configure a
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                                   1   traditional audio system to accommodate those preferences (ibid.). The specification describes

                                   2   both technological and physical hurdles that made such dynamic grouping “difficult” (ibid.).

                                   3        The ’885 patent announced that it solved this problem by providing a “mechanism” to

                                   4   “allow a user to group” multimedia players “according to a theme or scene, where each of the

                                   5   players is located in a zone” (id. at 2:36–41). Then, “[w]hen the scene is activated, the players

                                   6   in the scene react in a synchronized manner” (id. at 2:41–42). In other words, the ’885 patent

                                   7   allows a user to customize and save multiple groups of smart speakers or other players, each

                                   8   according to a “theme or scene,” and then later “activate” a customized group, called a “zone

                                   9   scene,” on demand (id. at 2:46–51). For example, the person described above who enjoys

                                  10   listening to broadcast news in the morning can form a “zone scene” called “Morning” that is

                                  11   composed of speakers in the bedroom, bathroom, and den. Figure 5A illustrates a user forming

                                  12   a zone scene called “Morning”:
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                                   1   After saving the “Morning” zone scene, the user can “invoke” the group on demand through an

                                   2   app on the “controller” device (e.g., a smart phone).

                                   3        Claim 1 of the ’885 patent was written from the perspective of a “zone player” that

                                   4   connects to other “zone players” to form a “zone scene.” Using Google’s paragraph numbering,

                                   5   claim 1 recites:

                                   6                [1.pre] A first zone player comprising:
                                   7                [1.1] a network interface that is configured to communicatively
                                                    couple the first zone player to at least one data network;
                                   8
                                                    [1.2] one or more processors;
                                   9
                                                    [1.3] a non-transitory computer-readable medium; and
                                  10
                                                    [1.4] program instructions stored on the non-transitory computer-
                                  11                readable medium that, when executed by the one or more
                                                    processors, cause the first zone player to perform functions
                                  12                comprising:
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                                  13                [1.5] while operating in a standalone mode in which the first zone
                                                    player is configured to play back media individually in a
                                  14                networked media playback system comprising the first zone player
                                                    and at least two other zone players:
                                  15
                                                    (i) receiving, from a network device over a data network, a first
                                  16                indication that the first zone player has been added to a first zone
                                                    scene comprising a first predefined grouping of zone players
                                  17                including at least the first zone player and a second zone player
                                                    that are to be configured for synchronous playback of media when
                                  18                the first zone scene is invoked; and
                                  19                (ii) receiving, from the network device over the data network, a
                                                    second indication that the first zone player has been added to a
                                  20                second zone scene comprising a second predefined grouping of
                                                    zone players including at least the first zone player and a third zone
                                  21                player that are to be configured for synchronous playback of media
                                                    when the second zone scene is invoked, wherein the second zone
                                  22                player is different than the third zone player;
                                  23                [1.6] after receiving the first and second indications, continuing to
                                                    operate in the standalone mode until a given one of the first and
                                  24                second zone scenes has been selected for invocation;
                                  25                [1.7] after the given one of the first and second zone scenes has
                                                    been selected for invocation, receiving, from the network device
                                  26                over the data network, an instruction to operate in accordance with
                                                    a given one of the first and second zone scenes respectively
                                  27                comprising a given one of the first and second predefined
                                                    groupings of zone players; and
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                                                     [1.8] based on the instruction, transitioning from operating in the
                                   1                 standalone mode to operating in accordance with the given one of
                                                     the first and second predefined groupings of zone players such that
                                   2                 the first zone player is configured to coordinate with at least one
                                                     other zone player in the given one of the first and second
                                   3                 predefined groupings of zone players over a data network in order
                                                     to output media in synchrony with output of media by the at least
                                   4                 one other zone player in the given one of the first and second
                                                     predefined groupings of zone players.
                                   5

                                   6   The most contested terms are italicized. Note that the parties concentrate their fire on limitation
                                   7   1.5.
                                   8          Sonos contends that Google’s products that employ cast technology infringe claim 1
                                   9   because they allow users to “create, save, and name as many speaker groups as desired” (Br. 6).
                                  10   Accused products include Google’s “Cast-enabled apps” such as the Google Home app, Google
                                  11   Play Music app, and YouTube Music app (Br. 3–7). Google opposes, arguing that the accused
                                  12   products do not infringe under its proposed construction of the term “zone scene.” Google
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                                  13   further argues that its accused products do not receive the “indications” it asserts is required by
                                  14   limitation 1.5. In addition to its noninfringement arguments, Google raises two invalidity
                                  15   theories.
                                  16          This order follows full briefing and oral argument.
                                  17                                               ANALYSIS
                                  18          Summary judgment is proper when there is no genuine dispute of material fact and the
                                  19   moving party is entitled to judgment as a matter of law. FRCP 56(a). A genuine dispute of
                                  20   material fact is one that “might affect the outcome of the suit under the governing law.”
                                  21   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). In deciding a motion for summary
                                  22   judgment, the court must accept the non-movant’s non-conclusory evidence and draw all
                                  23   justifiable inferences in its favor. Id. at 255.
                                  24          1.     INFRINGEMENT.
                                  25          Analysis of patent infringement requires a claim to be properly construed to determine its
                                  26   scope and meaning, which is then compared to the accused device or process. See Tessera, Inc.
                                  27   v. Int’l Trade Comm’n, 646 F.3d 1357, 1364 (Fed. Cir. 2011); Carroll Touch, Inc. v. Electro
                                  28   Mech. Sys., Inc., 15 F.3d 1573, 1576 (Fed. Cir. 1993). To prove infringement, Sonos must
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                                   1   show that Google’s accused products meet each properly construed limitation of claim 1 either

                                   2   literally or under the doctrine of equivalents. See Deering Precision Instruments, LLC v. Vector

                                   3   Distribution Sys., Inc., 347 F.3d 1314, 1324 (Fed. Cir. 2003). Here, Sonos asserts that Google’s

                                   4   products literally infringe. To establish literal infringement, all of the elements of the claim, as

                                   5   correctly construed, must be present in the accused products. TechSearch, LLC v. Intel Corp.,

                                   6   286 F.3d 1360, 1371 (Fed. Cir. 2002).

                                   7        Sonos has provided evidence that the accused products practice each element of claim 1

                                   8   (see Br. 11–24). In reply, Google raises three noninfringement arguments. This order

                                   9   addresses each in turn.

                                  10        First, Google argues that the accused products do not allow users to form a “zone scene,”

                                  11   which it proposes defining as “a previously-saved grouping of zone players according to a

                                  12   common theme” (Opp. 4–7). Even assuming, arguendo, that this is the proper construction of
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                                  13   “zone scene,” this order concludes that the accused products meet this limitation.

                                  14        It may be helpful to step back. Using Google’s taxonomy laid out above, limitation 1.5(i)

                                  15   requires that the claimed zone player receive “a first indication that the first zone player has

                                  16   been added to a first zone scene comprising a first predefined grouping of zone players

                                  17   including at least the first zone player and a second zone player that are to be configured for

                                  18   synchronous playback of media when the first zone scene is invoked” (emphasis added).

                                  19   Limitation 1.5(ii) then repeats this requirement as to a second indication and second zone scene.

                                  20        As briefly explained, the specification states that users can form groups of speakers

                                  21   “according to a theme or scene” (’885 patent at 2:39–40). Thus, as the specification explains, a

                                  22   user who prefers to listen to broadcast news in the morning in certain rooms can form a “zone

                                  23   scene” called “Morning” that only includes speakers in those rooms (id. at 1:67–2:17; 8:53–61).

                                  24   In addition to “Morning,” the specification’s examples of names of zone scenes include

                                  25   “Afternoon,” “Garden,” “Garden Party,” “Wakeup,” and “Party Mode” (see ’885 patent at fig.

                                  26   8; 8:52–9:15).

                                  27        Google vigorously argues that its products do not allow users to form such zone scenes.

                                  28   Google admits that its users can form speaker groups and name the groups anything (Opp. 7).
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                                   1   Google contends, however, that a user merely naming a group something does not supply the

                                   2   kind of a thematic “characteristics” the claim requires (ibid.). Specifically, Google argues that

                                   3   the claim requires zone scenes to be accompanied by “theme attributes” such as the ability to

                                   4   “[s]et volume levels in each zone” and “[s]elect and play specific music in the zones” (id. at 4–

                                   5   5). In support, Google points to the specification describing a “zone scene” embodiment as

                                   6   allowing “zones” to be “configured to a particular scene (e.g., morning, afternoon, or garden),

                                   7   where a predefined zone grouping and setting of attributes for the grouping are automatically

                                   8   effectuated” (’885 patent at 8:47–51 (emphasis added)).

                                   9        The specification, however, then goes on to state that “a zone scene command could

                                  10   apply” such “attributes,” not that zone scenes must apply them (id. at 9:20–30 (emphasis

                                  11   added)). Moreover, nothing in the specification links such attributes to the “common theme” of

                                  12   a zone scene (Reply Br. 3). Instead, the specification suggests themes based on location (e.g.,
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                                  13   “Garden”), time of day (e.g., “Morning” or “Evening”), or purpose (e.g., “Party Mode”) (see

                                  14   ’885 patent at fig. 8; 8:52–9:15).

                                  15        The question, then, is simply whether a user’s ability to name speaker groups means that

                                  16   the user can group speakers according to a common theme. The answer is yes. While the

                                  17   specification is largely barren on this point, it expressly states that a user can make a zone scene

                                  18   by “mak[ing] a group of 3 zones named after ‘Morning’” (’885 patent at 8:53–61 (emphasis

                                  19   added)). The specification does not suggest anything else is necessary. This conclusion also

                                  20   aligns with the basic purpose of the invention, which is to allow users to pre-save customized

                                  21   speaker groups and later “invoke” the named group on demand (see, e.g., id. at 9:15–20; fig. 6).

                                  22   The name serves to allow the user to remember the theme that binds a particular set of speakers.

                                  23        Google briefly objects that its users can name speaker groups something “completely

                                  24   abstract or random” such as “A,” “B,” and “C” (Opp. 7). In other words, Google argues that it

                                  25   should escape infringement because the accused products allow users to make speaker groups

                                  26   that are not bound by a thematic name. This only shows, however, that Google’s products have

                                  27   capabilities in addition to those recited by the claim. This does not avoid infringement. See

                                  28   Northern Telecom, Inc. v. Datapoint Corp., 908 F.2d 931, 945 (Fed. Cir. 1990) (infringement is
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                                   1   not avoided “if a claimed feature performs not only as shown in the patent, but also performs an

                                   2   additional function”). Moreover, as Sonos points out, the accused products only need to be

                                   3   reasonably capable of satisfying the limitation (see Reply Br. 3). The Court of Appeals for the

                                   4   Federal Circuit has explained that

                                   5                to infringe a claim that recites capability and not actual operation,
                                                    an accused device need only be capable of operating in the
                                   6                described mode. Thus, depending on the claims, an accused device
                                                    may be found to infringe if it is reasonably capable of satisfying
                                   7                the claim limitations, even though it may also be capable of
                                                    noninfringing modes of operation.
                                   8
                                       Finjan, Inc. v. Secure Computing Corp., 626 F.3d 1197, 1204 (Fed. Cir. 2010) (citations
                                   9
                                       omitted and emphasis added). This reasoning applies to our claim, which recites “a non-
                                  10
                                       transitory computer-readable medium that, when executed by the one or more processors, cause
                                  11
                                       the first zone player to perform functions comprising. . . .” (’885 patent at 11:43–45 (emphasis
                                  12
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                                       added)). See NetFuel, Inc. v. Cisco Sys. Inc., 438 F. Supp. 3d 1031, 1035 (N.D. Cal. 2020)
                                  13
                                       (Judge Edward J. Davila) (applying the “reasonably capable” test to a claim similarly
                                  14
                                       employing “when executed” language). Google admits that its accused products are readily
                                  15
                                       capable of allowing users to pre-save groups of speakers and give them thematic names.
                                  16
                                       Consequently, the accused products allow users to form zone scenes.
                                  17
                                            Second, Google argues that its accused products do not receive an “indication” that the
                                  18
                                       “zone player has been added to” a first or second zone scene. To recap, limitations 1.5(i) and
                                  19
                                       1.5(ii) require that the “zone player” receive “from a network device over a data network, a[n] .
                                  20
                                       . . indication that the . . . zone player has been added to . . . a zone scene” (emphasis added).
                                  21
                                       Sonos asserts that the accused Google players satisfy this limitation by receiving a “join_group
                                  22
                                       message,” which includes “a unique ID identifying the group” and a “name” (Br. 16; Reply Br.
                                  23
                                       4 (citing Dkt. No. 203-3, Ex. B)). The message is sent to the accused Google player after a user
                                  24
                                       adds the player to a group on the Google Home app (ibid.).
                                  25
                                            Google replies that, even if the “join_group message” adds a speaker to the group, it does
                                  26
                                       not indicate that the speaker “has been added” to the group (Opp. 8–9). This distinction
                                  27
                                       between past and present tense is critical, Google argues, because the “has been added”
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                                   1   language requires the speaker to receive a message regarding its grouping status later, after it

                                   2   has already been added to the group by some prior command. Google accordingly

                                   3   acknowledges that its “join_group” message instructs a speaker to join a group, but nonetheless

                                   4   maintains that it does not “memorializ[e] that the speaker has been added to the group” (ibid.;

                                   5   see also Schonfeld Decl. ¶ 37).

                                   6        Sonos disagrees with Google’s reading of the claim. It insists that the past-tense phrase

                                   7   “has been added” refers only to “some ‘add[]’ action’ that previously took place at the network

                                   8   device prior to the ‘indication’ being sent and received” (Reply Br. 4). In other words, Sonos

                                   9   contends that the phrase “has been added” refers to the user’s action that adds a speaker to a

                                  10   zone scene. After the user takes such action — by, as a hypothetical example, tapping “add” on

                                  11   the Google Home app — the network device subsequently sends the “join_group message” to

                                  12   the accused player. This sequence of events, Sonos argues, satisfies the “has been added”
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                                  13   limitation.

                                  14        This order again sides with Sonos. The plain language of the claim does not require a

                                  15   follow-up indication memorializing that the zone player has already been added to the group by

                                  16   an initial command so that the zone player can use that information later. Rather, the claim

                                  17   simply requires the zone player to receive an indication from the network device that it has been

                                  18   added to a zone scene. Because the accused players only receive the “join_group message”

                                  19   after some action has been taken to add them to a group, they meet this limitation.

                                  20        Third, Google argues that its accused players do not receive an “indication” identifying “at

                                  21   least the first zone player and second zone player” (Opp. 10). Put differently, Google’s view is

                                  22   that the claim requires a speaker that has been added to a zone scene to know what other

                                  23   speakers are in the group. Google’s argument is based on limitation 1.5(i) requirement that a

                                  24   the “first zone player” receive a “first indication that the first zone player has been added to a

                                  25   first zone scene comprising a first predefined grouping of zone players including at least the

                                  26   first zone player and a second/third zone player. . . .” (emphasis added). Limitation 1.5(ii) then

                                  27   repeats this requirement as to a second zone player and second zone scene.

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                                   1        Google’s argument, however, requires reading the word “comprising” to modify

                                   2   “indication.” A more natural reading of the claim is that “comprising” modifies “zone scene.”

                                   3   This reading also makes more sense in the context of the invention. The “comprising” phrase

                                   4   serves to clarify that a zone scene is required to be comprised of a group of zone players, not

                                   5   that the indication is required to be comprised of a group of zone players. Limitation 1.7 further

                                   6   supports this conclusion by stating, without referring to any required indication, that the “first

                                   7   and second zone scenes respectively compris[e] a given one of the first and second predefined

                                   8   groupings of zone players.”

                                   9        In sum, Google’s noninfringement arguments as to limitation 1.5 fail to present triable

                                  10   questions and lack merit. Further, Sonos has adequately shown that the accused products

                                  11   practice the remaining elements of the claim (see Br. 11–24). Google did not dispute these

                                  12   contentions in its briefing. Accordingly, Sonos’s motion for summary judgment of
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                                  13   infringement is GRANTED.

                                  14        2.      VALIDITY.
                                  15        Google supplements its infringement arguments with two invalidity theories. First,

                                  16   Google argues that claim 1 of the ’885 patent is directed toward unpatentable subject-matter.

                                  17   Second, Google contends that the patent lacks written description support. As explained below,

                                  18   both theories also fail to convince.

                                  19                A.      PATENTABLE SUBJECT-MATTER.
                                  20        Google argues that claim 1 is invalid under 35 U.S.C. § 101 for failing to meet the two-

                                  21   part Alice test. Under well-established Supreme Court precedent, laws of nature, natural

                                  22   phenomena, and abstract ideas remain patent-ineligible under Section 101. See, e.g., Ass’n for

                                  23   Molecular Pathology v. Myriad Genetics, Inc., 569 U.S. 576, 589 (2013) (citations and

                                  24   quotations omitted). The Supreme Court has set forth a two-step “framework for distinguishing

                                  25   patents that claim laws of nature, natural phenomena, and abstract ideas from those that claim

                                  26   patent-eligible applications of those concepts.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 573

                                  27   U.S. 208, 217 (2014) (quoting Mayo Collaborative Servs. v. Prometheus Labs., Inc., 566 U.S.

                                  28   66, 71 (2012)). Under this framework, a court must first “determine whether the claims at issue
                                                                                       11
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                                   1   are directed to one of those patent-ineligible concepts.” Ibid. If so, then the court must further

                                   2   “consider the elements of each claim both individually and ‘as an ordered combination’ to

                                   3   determine whether the additional elements ‘transform the nature of the claim’ into a patent-

                                   4   eligible application.” Ibid.

                                   5        At step one, courts must first examine the “patent’s ‘claimed advance’ to determine

                                   6   whether the claims are directed to an abstract idea.” Finjan, Inc. v. Blue Coat Sys., Inc., 879

                                   7   F.3d 1299, 1303 (Fed. Cir. 2018). “[T]he first step in the Alice inquiry . . . asks whether the

                                   8   focus of the claims is on the specific asserted improvement in computer capabilities . . . or,

                                   9   instead, on a process that qualifies as an ‘abstract idea’ for which computers are invoked merely

                                  10   as a tool.” Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1335–36 (Fed. Cir. 2016).

                                  11        This order finds that claim 1 of the ’885 patent survives step one. The thrust of Google’s

                                  12   argument is that the claim is directed toward the abstract idea of “grouping and controlling
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                                  13   speakers” because the invention merely automates the “age-old process of manually plugging

                                  14   speakers in to create speaker groups” (Opp. 13). This is not convincing. True, the Court of

                                  15   Appeals for the Federal Circuit has held that merely “‘claiming the improved speed or

                                  16   efficiency inherent with applying the abstract idea on a computer’ is insufficient to render the

                                  17   claims patent eligible.” Enco Sys., Inc. v. DaVincia, LLC, 845 F. App’x 953, 957 (Fed. Cir.

                                  18   2021) (citations omitted). Claim 1, however, does not merely automate the process of plugging

                                  19   in speakers, nor does it merely employ computer software as a blunt tool. Rather, claim 1

                                  20   recites a specific kind of device — a “zone player” — that can be readily placed in pre-saved

                                  21   groups with other zone players to allow synchronous playback on demand. The claimed ability

                                  22   to customize and save overlapping speaker groups and easily control group playback represents

                                  23   a clear technological improvement over the “conventional multi-zone audio system,” which, as

                                  24   the specification explained, presents significant technological and physical obstacles to forming

                                  25   speaker groups. See, e.g., CardioNet, LLC v. InfoBionic, Inc., 955 F.3d 1358, 1369 (Fed. Cir.

                                  26   2020) (finding claims non-abstract where they were sufficiently “directed to technological

                                  27   improvements”); MicroPairing Techs. LLC v. Am. Honda Motor Co., No. C 21-4034, 2021

                                  28   WL 6618817, at *7 (C.D. Cal. Dec. 9, 2021) (Judge James V. Selna) (idea “does not become
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                                   1   conventional simply because it improves on a more rudimentary version of a task previously

                                   2   done by humans”).

                                   3        Google briefly presents two additional step one arguments. First, Google argues that the

                                   4   claims are vague and “purely functional” (Opp. 15). This order disagrees. The specification

                                   5   adequately details how the claimed set of functions is employed. Cf. Affinity Labs of Texas,

                                   6   LLC v. Amazon.com Inc., 838 F.3d 1266, 1271 (Fed. Cir. 2016) (finding claim abstract in part

                                   7   because “neither the claim nor the specification reveals any concrete way of employing a

                                   8   customized user interface”). Moreover, as Sonos points out, the cases that Google relies on to

                                   9   support this argument are directed to the generally abstract idea of collecting, organizing, and

                                  10   storing information (see Reply Br. 15 n.10). These cases are inapposite, and Google has not

                                  11   adequately explained how they would translate to the technology at issue here.

                                  12        Second, Google contends that the claim is directed to an abstract idea because forming
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                                  13   zone scenes necessarily relies on the “subjective intent of the user at the time of grouping”

                                  14   (Opp. 16). The cases Google cites to support this proposition, however, relate to computers

                                  15   implementing human mental processes through, for example, an algorithm. See, e.g., Synopsys,

                                  16   Inc. v. Mentor Graphics Corp., 78 F. Supp. 3d 958, 965 (N.D. Cal. 2015), aff’d, 839 F.3d 1138

                                  17   (Fed. Cir. 2016) (finding asserted claims invalid where they “add nothing other than a way to

                                  18   implement [a] mental process on a computer”). Google again fails to adequately explain how

                                  19   these cases are relevant. Moreover, the act of naming zone scenes is just one aspect of the

                                  20   claim. Taken as a whole, the idea of the claim — to allow users to pre-save customized speaker

                                  21   groups and invoke them on demand for synchronized playback — is not directed toward a

                                  22   subjective mental process. See CardioNet, 955 F.3d at 1367 (“At step one, we consider the

                                  23   claims in their entirety to ascertain whether their character as a whole is directed to excluded

                                  24   subject matter”) (cleaned up and emphasis added); CyberSource Corp. v. Retail Decisions, Inc.,

                                  25   654 F.3d 1366, 1371 (Fed. Cir. 2011) (finding subject matter of a claim unpatentable where all

                                  26   of the claimed method steps could be performed in the human mind).

                                  27        This order is also not convinced that the idea of naming zone scenes depends on a

                                  28   subjective mental process. The kinds of “scenes or themes” suggested by the patent are
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                                       Case 3:20-cv-06754-WHA Document 309 Filed 07/21/22 Page 14 of 17




                                   1   sufficiently tethered to the technology to render them non-abstract. The patent does not suggest

                                   2   that a user can form a zone scene based on any arbitrary theme. Rather, the patent describes

                                   3   themes logically connected to the utility of speakers such as time of day, location, and purpose.

                                   4   Even Google acknowledges that there is a distinction between the claimed zone scenes and

                                   5   speaker group themes that are “completely abstract and random” such as those named “A,” “B,”

                                   6   and “C” (Opp. 7).

                                   7        This order accordingly finds that claim 1 is not directed toward an abstract idea. Having

                                   8   found that the claim survives step one, it is unnecessary to proceed to step two.

                                   9                B.      WRITTEN DESCRIPTION.
                                  10        This order now considers Google’s written description challenge. Written description

                                  11   requires the specification to “clearly allow persons of ordinary skill in the art to recognize that

                                  12   the inventor invented what is claimed.” Ariad Pharmas., Inc. v. Eli Lilly & Co., 598 F.3d 1336,
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                                  13   1351 (Fed. Cir. 2010) (en banc). Put differently, the disclosure in the patent must “reasonably

                                  14   convey[] to those skilled in the art that the inventor had possession of the claimed subject matter

                                  15   as of the filing date.” Ibid. Determining whether the patent satisfies written description is a

                                  16   question of fact. Ibid.

                                  17        Google asserts that two limitations of the ’885 patent are not sufficiently described. First,

                                  18   Google argues that the specification “never discloses that a zone player may be added to two

                                  19   zone scenes at the same time” (Opp. 20). Not so. Figure 5B shows a “user interface to allow a

                                  20   user to form a zone scene” (’885 patent at 10:12–19):

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                                       The specification clarifies that “[t]he list of zones in the user interface” shown in Figure 5B
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                                       “includes ALL the zones in the system, including the zones that are already grouped” (ibid.
                                  14
                                       (emphasis added)). Sonos additionally points to the specification’s disclosure that “various
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                                       scenes may be saved in any of the members in a group” (id. at 2:56–59 (emphasis added)).
                                  16
                                       These disclosures adequately convey that a zone player can be added to multiple zone scenes.
                                  17
                                            Second, Google contends that the specification does not provide support for the zone
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                                       player “continuing to operate in the standalone mode until a given one of the first and second
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                                       zone scenes has been selected for invocation” and “transitioning from operating in the
                                  20
                                       standalone mode to operating in accordance with the given one of the first and second
                                  21
                                       predefined groupings of zone players” (see limitations 1.6; 1.8). In plain English, these
                                  22
                                       limitations explain that an individual smart speaker that has been added to a speaker group will
                                  23
                                       continue to operate individually — i.e., in “standalone mode” — until the speaker group of
                                  24
                                       which it is a member is activated by the user, at which point the individual speaker will
                                  25
                                       transition to being controlled as part of the group. Google asserts that the specification never
                                  26
                                       describes this claimed sequence of operations.
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                                   1        True, as Google repeatedly points out, the specification never expressly refers to the term

                                   2   “standalone mode.” However, the specification does not have to use the term verbatim to

                                   3   provide sufficient disclosure. See Ariad Pharms., Inc., 598 F.3d at 1352 (specification does not

                                   4   need to “recite the claimed invention in haec verba”); Novartis Pharms. Corp. v. Accord

                                   5   Healthcare, Inc., 21 F.4th 1362, 1370 (Fed. Cir. 2022) (“literal description of every limitation”

                                   6   is not required). The disclosure need only “clearly allow persons of ordinary skill in the art to

                                   7   recognize that the inventor invented what is claimed.” Ariad Pharms., Inc., 598 F.3d at 1351.

                                   8        The disclosure does so here. Figure 6 illustrates the process of forming and “invok[ing]” a

                                   9   zone scene:

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                                  25   The figure demonstrates that the process of forming a zone scene occurs in a specific order.
                                  26   The user “decide[s] which zone players to be associated with the scene” and then the scene is
                                  27   “[s]aved.” Once a scene is saved, it can then be “invoke[d]” later. The specification further
                                  28   clarifies that zone players can be played “synchronously if the players are grouped together,” or
                                                                                      16
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                                   1   “individually if the players are disassociated with each other” (see ’885 patent at 3:26–31; see

                                   2   also 9:16–20; 10:53–63). Taken together, these disclosures adequately inform a person of

                                   3   ordinary skill in the art that the zone player operates on its own before a zone scene is invoked,

                                   4   at which point it acts “in accordance with” the group.

                                   5        In sum, this order rejects Google’s arguments that the patent does not disclose the claim.

                                   6                                           CONCLUSION

                                   7        For the foregoing reasons, Sonos’s motion for summary judgment is GRANTED and

                                   8   Google’s corresponding motion for summary judgment is DENIED.

                                   9        IT IS SO ORDERED.

                                  10

                                  11   Dated: July 21, 2022.

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                                                                                                WILLIAM ALSUP
                                  14                                                            UNITED STATES DISTRICT JUDGE
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